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                Exhibit L
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                                  :
                                  :
APPLICATION OF VULNERABLE         :
                                  :
INMATE FOR RELEASE FROM           : AFFIDAVIT OF JONATHAN
                                  : GIFTOS, M.D.
MDC BROOKLYN                      :
                                  :
                                  :
                                  :
                                  :
--------------------------------- X

I, Jonathan Giftos, hereby affirm as follows:

       1.      I am a doctor duly licensed to practice medicine in the State of New York. I am

board certified in internal medicine and addiction medicine.

       2.      I am currently the Medical Director of Addiction Medicine & Drug User Health at

Project Renewal and a Clinical Assistant Professor in the Department of Medicine at Albert

Einstein College of Medicine. I was previously the Clinical Director of Substance Use Treatment

for NYC Health & Hospitals, Division of Correctional Health Services at Rikers Island. In that

capacity I was responsible for the diversion, harm reduction, treatment and reentry services for

incarcerated patients with substance use disorders. I further served as the medical director of the

Key Extended Entry Program (KEEP), the nation's oldest and largest jail-based opioid treatment

program that provides methadone and buprenorphine to incarcerated patients with opioid use

disorders. I successfully led an effort to remove non-clinical barriers to opioid treatment program

enrollment in 2017, which dramatically expanded treatment access from 25% to over 80%, while

also reducing post-release mortality for people with opioid use disorder.
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          3.    I have extensive experience working with vulnerable populations such as the

incarcerated and those experiencing homelessness.

          4.    I submit this affidavit in support of vulnerable defendants’ (as defined by the CDC)

Motion for Temporary Release from Custody during the COVID-19 pandemic.

I.        Coronavirus Epidemic in New York City

          5.    On March 11, 2020, the World Health Organization declared that the rapidly

spreading outbreak of COVID-19, a respiratory illness caused by a novel coronavirus, is a

pandemic, announcing that the virus is both highly contagious and deadly. 1 To date, the virus is

known to spread from person-to-person through respiratory droplets, close personal contact, and

from contact with contaminated surfaces and objects. 2 The CDC also warns of “community

spread” where the virus spreads easily and sustainably within a community where the source of

the infection is unknown. 3 Experts are still learning how it spreads.

          6.    As of March 18, 2020, novel coronavirus has infected over 193,475 people, leading

to 7,864 deaths worldwide. 4 In the United States, there are at least 5,881 confirmed cases and

there have been at least 107 deaths. 5 There are confirmed coronavirus cases in every state, the

District of Columbia, Puerto Rico, Guam, and the U.S. Virgin Islands.


1
  World Health Organization, Media Briefing on March 11, 2020:
https://www.who.int/dg/speeches/detail/who-director-general-s-opening-remarks-at-the-media-briefing-
on-covid-19---11-march-2020.
2
 Centers for Disease Control and Prevention, Coronavirus Disease 2019: How it Spreads,
https://www.cdc.gov/coronavirus/2019-ncov/prepare/transmission.html
3
    Id.

4
  Novel Coronavirus Situation Dashboard, World Health Organization
https://experience.arcgis.com/experience/685d0ace521648f8a5beeeee1b9125cd.
5
 Coronavirus Map: Tracking the Spread of the Outbreak, The New York Times (March 18, 2020), at
https://nyti.ms/2U4kmud (updating regularly).



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          7.       Governor Cuomo declared a State of Emergency in New York State on March 7,

2020. Mayor De Blasio declared a State of Emergency in New York City on March 12, 2020. As

of March 18, 2020, there are 2,382 positive cases in New York State with 1,339 of those cases

being in New York City. 6 Among the positive cases in New York City are a number of people

who work in courthouses, law enforcement, legal offices, and the medical field, increasing the

likelihood of exposure to and by inmates: a security officer and an agent in the U.S. Attorney’s

Office, SDNY; 7 a NYC Department of Corrections investigator (who has since died from COVID-

19); 8 a lawyer with an office in Midtown Manhattan (and his wife and son); 9 a healthcare worker

in Manhattan; an attorney and legal intern in local New York State courts; and an attorney at the

Brooklyn Supreme Court. 10

          8.       There is currently no vaccine or cure. The primary focus is on preventing the spread

of the virus at this juncture. To prevent new infections, the Centers for Disease Control and

Prevention strongly recommend the following actions: thorough and frequent handwashing,

cleaning surfaces with EPA approved disinfectants, keeping at least 6 feet of space between people,




6
  Information on Novel Coronavirus, New York Department of Health,
https://www.health.ny.gov/diseases/communicable/coronavirus (last visited March 17, 2020).
7
    Email Communication with Edward Tyrrell, U.S. Attorney’s Office, SDNY (March 14, 2020).
8
  NYC Corrections Officer Dies of Coronavirus, https://www.pix11.com/news/coronavirus/nyc-
correction-officer-dies-of-coronavirus
9
  Midtown Lawyer, Family and Friends Test Positive, https://www.nbcnewyork.com/news/local/nyc-attorney-
in-critical-condition-city-works-to-trace-movements-awaits-more-tests/2311723/

10
  Information about Coronavirus and New York State Courts,
https://www.nycourts.gov/whatsnew/covid.shtml; see also Two People with Coronavirus were in
Manhattan and Brooklyn Courts, https://twnews.us/us-news/two-people-with-coronavirus-were-in-
manhattan-brooklyn-courts.



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and avoiding group settings. 11 Social distancing has also been encouraged to slow the rate of

COVID-19 infections so that hospitals have the resources to address infected individuals with

urgent medical needs. 12 The President’s Coronavirus Guidelines for America, to slow the spread

of the coronavirus, warns that social gatherings in groups of more than 10 people should be

avoided. 13 In correctional settings, such sanitation, social distancing, and self-quarantining

measures are nearly impossible especially when inmates are routinely shackled and escorted with

other prisoners. 14

Certain Identifiable Populations Are Far More Vulnerable To COVID-19 Than The
Population At Large Is.

        9.       The Centers for Disease Control have identified two groups of people at higher risk

of contracting and succumbing to COVID-19: adults over 60 years old and people with chronic

medical conditions. 15

        10.      COVID-19 is more dangerous to persons in these high-risk groups than to the

general population. Older people who contract COVID-19 are more likely to die than people under

the age of 60. In a February 29th WHO-China Joint Mission Report, the preliminary mortality rate

analyses showed that individuals age 60-69 had an overall 3.6% mortality rate and those 70-79


11
   How to Protect Yourself, Centers for Disease Control and Prevention,
https://www.cdc.gov/coronavirus/2019-ncov/prepare/prevention.html.
12
   Coronavirus, Social Distancing, and Self-Quarantine, Johns Hopkins Medicine,
https://www.hopkinsmedicine.org/health/conditions-and-diseases/coronavirus/coronavirus-social-distancing-and-
self-quarantine.

13
  The President’s Coronavirus Guidelines for America, https://www.whitehouse.gov/wp-
content/uploads/2020/03/03.16.20_coronavirus-guidance_8.5x11_315PM.pdf.
14
  See We Are Not a Hospital: A Prison Braces for the Coronavirus, New York Times, March 18, 2020,
https://www.nytimes.com/2020/03/17/us/coronavirus-prisons-jails.html.
15
  If You Are at Higher Risk, Centers for Disease Control and Prevention, https://tinyurl.com/vtbebzc; see
also Report of the WHO-China Joint Mission on Coronavirus Disease (COVID-19),
https://www.who.int/docs/default-source/coronaviruse/who-china-joint-mission-on-covid-19-final-report.pdf at 12.



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years old had an 8% mortality rate. 16 For individuals 40 years and younger, the mortality rate was

as low as .2%. It has been found that older people diagnosed with COVID-19 are more likely to

be very sick and require hospitalization to survive because the acute symptoms include respiratory

distress, cardiac injury, arrhythmia, septic shock, liver dysfunction, kidney injury and multi-organ

failure. Access to a mechanical ventilator is often required. People with chronic medical

conditions (no matter their age) are also at significantly greater risk from COVID-19 because their

already-weakened systems are less able to fight the virus. These chronic medical conditions

include lung disease, cancer, heart failure, cerebrovascular disease, renal disease, liver disease,

diabetes, immunocompromising conditions, and pregnancy. Those with pre-existing medical

conditions have a higher probability of death if infected. The WHO-China Joint Mission Report

provides that the mortality rate for those with cardiovascular disease was 13.2%, 9.2% for diabetes,

8.4% for hypertension, 8.0% for chronic respiratory disease, and 7.6% for cancer. 17

          In a March 17th Washington Post article tracking the 100 United States COVID-19

deaths, it is reported that many of the fatalities had underlying medical conditions, which made it

harder for their bodies to fight off COVID-19. And nearly all — about 85 percent — were older

than 60; about 45 percent were older than 80. 18

          Correctional Settings Increase The Risk Of Transmission

          11.    Correctional settings increase the risk of contracting an infectious disease, like

COVID-19, due to the high numbers of people with chronic, often untreated, illnesses housed in a


16
  Age, Sex, Existing Conditions of COVID-19 Cases and Deaths Chart,
https://www.worldometers.info/coronavirus/coronavirus-age-sex-demographics/ (data analysis based on WHO-
China Joint Mission Report, supra).
17
     Report of the WHO-China Joint Mission on Coronavirus Disease (COVID-19),
https://www.who.int/docs/default-source/coronaviruse/who-china-joint-mission-on-covid-19-final-report.pdf at 12.

18
  U.S. Coronavirus Death Toll Reaches 100, The Washington Post, March 17, 2020, at
https://www.washingtonpost.com/national/us-coronavirus-death-toll-reaches-100/2020/03/17/f8d770c2-67a8-11ea-
b313-df458622c2cc_story.html.


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setting with minimal levels of sanitation, limited access to personal hygiene, limited access to

medical care, and no possibility of staying at a distance from others. Correctional facilities house

large groups of inmates together, and move inmates in groups to eat, do recreation, and go to court.

They frequently have insufficient medical care for the population, and, in times of crisis, even

those medical staff cease coming to the facility. Hot water, soap and paper towels are frequently

in limited supply. Inmates, rather than professional cleaners, are responsible for cleaning the

facilities and often not given appropriate supplies. This means there are more people who are

susceptible to getting infected all congregated together in a context in which fighting the spread of

an infection is nearly impossible.

         12.     Outbreaks of the flu regularly occur in jails, and during the H1N1 epidemic in 2009,

many jails and prisons dealt with high numbers of cases. 19

         13.     Inmates in New York City have already begun to test positive for COVID-19. An

inmate at Rikers and an inmate at Nassau County Correctional Facility (which houses both state

and federal pre-trial detainees) tested positive this week. 20 A corrections officer at Rikers has also

tested positive. 21

Specific Conditions At MDC Brooklyn

         14.     Based on my understanding of the specific conditions at the federal pre-trial

detention center in Brooklyn (“MDC Brooklyn”) as contained in published reports and

communicated to me by Deirdre D. von Dornum, Attorney-in-Charge of the Federal Defenders of


19
     Prisons and Jails are Vulnerable to COVID-19 Outbreaks, The Verge (Mar. 7, 2020) at
          https://bit.ly/2TNcNZY.
20
  Id.; Nassau County Jail Inmate Tests Positive, https://www.pix11.com/news/coronavirus/inmate-at-
nassau-county-jail-long-island-tests-positive-for-coronavirus-officials.
21
  Rikers Island Inmate Tests Positive for Coronavirus, in a First for New York City, New York Magazine (March
18, 2020).


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New York, these conditions pose heightened risks to already vulnerable inmates of contracting the

novel coronavirus and of developing acute symptoms from the virus.

           15.     The size of the population and the conditions of confinement at MDC Brooklyn

increase the risk of infection substantially because it is impossible for inmates to maintain a 6-foot

distance from others, to avoid large groups, or to implement sufficient hand-washing and

sanitization of surfaces.

           a.      Approximately 1700 inmates are held at the MDC, at least 10% of whom (and likely

           a higher percentage) fall into the high risk groups identified by the CDC. 22

           b.      New inmates arrive at MDC Brooklyn from all over the world each week. These

           new inmates are screened only for fever and recent travel to designated hotspot countries. 23

           c.      Correctional officers who live in New York, New Jersey, and Pennsylvania come

           in and out of the facility each day without medical screening. 24 Significantly, in a March

           18th CDC report, an epidemiological investigation revealed that coronavirus-infected staff

           members contributed to the outbreak in a nursing home facility with ineffective infection

           control and prevention and staff members working in multiple facilities. 25 The Seattle

           nursing home outbreak demonstrates that individuals with underlying health conditions and




22
  See “Review and Inspection of Metropolitan Detention Center Brooklyn Facilities Issues and Related Impact on
Inmates,” OIG Report (Sept. 2019), at 1 (MDC Brooklyn houses approximately 1700 pretrial and designated
inmates); Telephone Conversation With MDC Legal (March 17, 2020) (approximately 10% of inmates at MDC
Brooklyn are high-risk for COVID-19 within the CDC’s definition).
23
     Telephone Conversation With MDC Legal (March 17, 2020).
24
     Telephone Conversation With MDC Legal (March 17, 2020).

25
  COVID-19 in a Long-term Care Facility—King County Washington, February 27-March 9, 2020,
https://www.cdc.gov/mmwr/volumes/69/wr/pdfs/mm6912e1-H.pdf.



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           advanced age, in a shared location, are at a high risk of death, especially when resources

           and staffing become inadequate. 26

           d. Inmates at MDC Brooklyn are housed either in small two-man cells (designed to hold

           a single inmate) with a single shared toilet and sink or in large open dormitory units housing

           up to 70 inmates with shared toilets and sinks. 27           Windows in the units do not open.

           Inmates cannot go outside.

           e.   No hand sanitizer is available to inmates at MDC Brooklyn. 28

           f.   Tissues are not readily available. Inmates use toilet paper to blow their noses. Each

           inmate is provided only one roll of toilet paper per week.

           g.   Each inmate is given one small bar of soap a week, at most. Some units at MDC have

           received no soap since the lockdown of the facility began on March 13, 2020. Access to

           additional soap is limited to those inmates who have sufficient commissary funds to

           purchase it, and dependent on the commissary being open; it is routinely closed during

           lockdowns.

           h.   Inmates prepare all inmate meals and this meal preparation, with the exception of

           kosher and halal meals, is performed in a single kitchen. 29

           i.   Inmates eat meals in large groups. 30



26
     Id.
27
  See “Review and Inspection of Metropolitan Detention Center Brooklyn Facilities Issues and Related Impact on
Inmates,” OIG Report (Sept. 2019) (describing housing units).
28
  Statement of Associate Warden Andy Cruz at EDNY Security Committee Meeting (March 11, 2020).
29
  “Review and Inspection of Metropolitan Detention Center Brooklyn Facilities Issues and Related Impact on
Inmates,” OIG Report (Sept. 2019), at 4 (all meals are prepared by inmates who work for Food Services in a central
kitchen area).
30
  “Review and Inspection of Metropolitan Detention Center Brooklyn Facilities Issues and Related Impact on
Inmates,” OIG Report (Sept. 2019).



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           j.    Inmates are responsible for sanitizing the housing unit common areas, and frequently

           lack adequate cleaning supplies to do so.

           k.    Inmates have not been informed of the symptoms of COVID-19, or of how to prevent

the spread of the infection.

           l. Inmates who are at lower and higher risks (because of age and pre-existing medical

conditions) of contracting the virus are not separated. 31 Instead, they are mixed together in small

two-man cells and locked together in those cells for at least 10 out of every 24 hours. 32

           m. The facility has not informed the inmate population of what the protocol will be for

symptomatic inmates; 33 absent a transparent protocol, inmates in correctional settings often fear

they will be confined in solitary if they volunteer that they are symptomatic.

           n.      MDC Brooklyn currently has no COVID-19 test kits.

           16.     Inmates at MDC Brooklyn who do contract COVID-19 are at higher risk for

developing acute symptoms than if they were in the community, because MDC Brooklyn lacks

the medical resources to care for symptomatic inmates.

                   a.      There is no separate medical unit or facility for ill inmates. 34 Unlike many

                           Federal Correctional Institutions and even Rikers’ Island, MDC Brooklyn

                           has no physical space in which an ill inmate can convalesce that is

                           separate from other inmates, warm, clean and has access to fresh water

                           and regular hand-washing.



31
     Statement of Associate Warden Andy Cruz at EDNY Security Committee Meeting (March 11, 2020).
32
     Id.
33
     Id.
34
     Statement of Associate Warden Andy Cruz at EDNY Security Committee Meeting (March 11, 2020).



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                 b.      On weekdays, there are only three doctors available at MDC Brooklyn to

                         care for all 1700 inmates. Even this highly limited number is likely to

                         decrease as doctors themselves go into quarantine. None of these doctors

                         specialize in infectious diseases.

                 c.      There are no doctors at MDC Brooklyn on weekends or evenings.

                 d.      People who contract COVID-19 can deteriorate rapidly, even before a test

                         result can be received. They need constant monitoring. Most people in the

                         higher risk categories will require more advanced support: positive

                         pressure ventilation, and in extreme cases, extracorporeal mechanical

                         oxygenation. Such care requires specialized equipment in limited supply

                         as well as an entire team of specialized care providers. MDC Brooklyn

                         does not have that specialized equipment or specialized providers.

        17.      MDC Brooklyn is already short-staffed. 35 This staffing shortage will only increase

as employees need to stay home to care for children whose schools are closed, elderly family

members, and other personal health situations. With fewer staff, correctional officers are less able

to monitor inmates’ health.


Reducing Population Size At Specific Correctional Facilities Is A Crucial Public Health
Measure

        18.      Every effort should be made to reduce chances of exposure to the novel

coronavirus; however given the proximity and high number of inmates, correctional staff, and

healthcare workers at pre-trial detention facilities, it will be extremely difficult to sustain such




35
  “Review and Inspection of Metropolitan Detention Center Brooklyn Facilities Issues and Related Impact on
Inmates,” OIG Report (Sept. 2019).


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